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IN THE UNITED STATES DISTRICT COURT amngtm ;m_ _DB
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION osm 9 AH 6:1*3
mcmaa)um
UNITED STATES OF AMERICA US&HWUHO&BT

W OHNMMHM
Plaintiff,

Criminal No. £~ g(f)/§/§Z Ml
AN{)QL|NH G[/\P\M/WA`

(60-Day Continuance)

 

 

 

 

»_»V`_,VV~_,~_,VVVV\_/~_/V`._,Vv~_/V

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the September
2005r criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, October 28, 2005, with trial to take place
on the November, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through November 18, 2005. Agreed in

open court at report date this 26th day of August, 2005.

I'h\.=a document entered on the docket sheet in compliance
wim Hu|e 555 and/or 32(b) FF\C:P on '

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SO ORDERED this 26th day of August, 2005.

QM)QQQ

 

PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

 

 

 

 

 

 

Counsel for Defendant(s)

   

UNITED sTATE ISTRIC COURT - WETERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:05-CR-20144 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

